                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAYMOND BROWN,                                     :
                                                   :
                             Plaintiff,            :      CIVIL ACTION
                                                   :
                     v.                            :      NO.    2:20 -cv-05354-MMB
                                                   :
CITY OF PHILADELPHIA,                              :      JURY TRIAL DEMANDED
ET AL.,                                            :
                    Defendants.                    :


                                           ORDER

       AND NOW, this _______ day of ____________, 2022, upon consideration of Defendants’

Motion to Defer Consideration of Plaintiff’s Request for Costs, and any response thereto, IT IS

ORDERED that the Motion is GRANTED.


                                                   BY THE COURT:




                                                   Michael M. Baylson, U.S.D.J.
